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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),                CASE NUMBER: 05-80025
                                                  HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                      ORDER DENYING DEFENDANT’S
        MOTION TO STRIKE SPECIFICATION C(3) OF THE GOVERNMENT’S
             NOTICE OF INTENT TO SEEK THE DEATH PENALTY

I.     BACKGROUND AND PROCEDURAL HISTORY

       On November 1, 2006, the Government filed a Notice of Intent to Seek the Death

Penalty as to Timothy Dennis O’Reilly. In the Notice, the Government alleges:

       Future Dangerousness: Defendant stated that he planned to commit
       additional robberies when he is released from prison. Defendant stated
       that he intends to kill the witnesses who testified against co-defendant
       Norman Duncan when released from prison. Defendant also stated that
       he would have killed co-defendant Earl Johnson after the Dearborn Credit
       Union robbery if he would have known how Johnson would handle his
       share of the proceeds.

       Before the Court is O’Reilly’s “Motion to Strike Specification C(3) of the

Government’s Notice of Intent to Seek the Death Penalty as to Timothy Dennis O’Reilly

and Supporting Brief.” (Doc. #407). O’Reilly asks the Court to strike the “future

dangerousness” factor from the Notice for four reasons: (1) it is unconstitutional; (2)

studies show “future dangerousness” evidence is unreliable; (3) the evidence in support

of this factor is inadmissible or highly unreliable; and (4) it violates the Supreme Court’s

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demands that the death decision be based on evidence that meets a heightened

standard of reliability and accuracy.

       In addition, O’Reilly says any alleged plot hatched in prison to kill Government

witnesses has no bearing on his future dangerousness in the prison setting, while the

Government says such plot evidences future dangerousness in prison.

       O’Reilly’s motion is DENIED.

II.    ANALYSIS

       On February 1, 2008, this Court held: (1) “future dangerousness” as a non-

statutory aggravating factor is proper; (2) the Government may present “lack of

remorse” evidence to support the “future dangerousness” non-statutory aggravating

factor, provided the “future dangerousness” factor is not stricken following the guilt

phase; and (3) if O’Reilly is convicted of a crime where the penalty choices are death or

life in prison without the possibility of parole, the Government may only introduce

evidence related to O’Reilly’s “future dangerousness” in prison. See Doc. #309.

       O’Reilly’s reliance on empirical studies – to support his position that the Court

should strike the “future dangerousness” factor, because no one can make a reliable

prediction of future dangerousness – does not change the Court’s holding or the case

law. As O’Reilly recognizes, Jurek v. Texas, 428 U.S. 262 (1976) and Barefoot v.

Estelle, 463 U.S. 880 (1983), hold that a jury can make predictions concerning a

defendant’s future dangerousness, after hearing “future dangerousness” evidence

during the penalty phase of a capital trial.

       The Court acknowledges that the studies O’Reilly presents are more current than



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Jurek and Estelle. If there is a penalty phase to this trial – where O’Reilly introduces

mitigation evidence – O’Reilly may introduce the studies and rely on expert witnesses

who support such studies, so long as the Daubert test is met. See Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579 (1993).

III.   CONCLUSION

       O’Reilly’s motion is DENIED. The Court declines to strike the “future

dangerousness” factor from the Notice.

       However, if O’Reilly is convicted on Count 2, where the penalty is either death or

life, the Court would need to make a finding that plotting while in prison, to kill witnesses

outside of prison, evidences future dangerousness in the prison setting. This

determination will be left for an evidentiary hearing before the penalty phase, if one is

held. Depending on the arguments presented at the hearing, the Court may reconsider

its position that O’Reilly’s statements about robberies he plans to commit when released

from prison, his statement that he would have killed co-Defendant Earl Johnson, and

statements about other witnesses he plans to kill when released from prison, is not

evidence of dangerousness in prison. See Doc. #309. If O’Reilly is convicted on Count

2, and the Court’s position on these statements does not change, the Government may

not introduce these statements as “lack of remorse” evidence to support the “future

dangerousness” factor.

       Importantly, if O’Reilly is convicted on Count 2, he may file a motion to prohibit

the Government from introducing other evidence in support of the “future

dangerousness” factor, on the ground that the evidence only supports an argument that



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he would be a danger outside of prison.

       O’Reilly’s taped statements to another inmate, Barron Nix-Bey, describing how

Norman Stephens was killed during the Dearborn Credit Union robbery, his lack of

remorse for killing Stephens, and his statement that he is willing to kill in the future, is

“lack of remorse” evidence that is probative of O’Reilly’s future dangerousness. These

statements are admissible to support the “future dangerousness” factor.

       Finally, if O’Reilly is convicted on any count that requires a penalty phase, he

may file a motion to prohibit the Government’s “future dangerousness” evidence on the

ground that it is inadmissible or unreliable.

       IT IS ORDERED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: December 30, 2009

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 December 30, 2009.

 s/Carol A. Pinegar
 Deputy Clerk




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